      Case 6:19-cr-00004-BMM Document 36 Filed 06/19/19 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                                                                                 6/19/2019
                     FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION

 UNITED STATES OF AMERICA,                               CR-19-4-H-CCL

                                 Plaintiff,

    vs.                                                        Order

 JADA MARIE JOHNSON, and
 DOMINIQUE AURTHERALLE
 HAMILTON,

                              Defendants.

      Defendant, Jada Marie Johnson, filed a motion in limine requesting

authorization to call the prosecutor in this case as a witness at the hearing on her

motion to dismiss. As stated at the commencement of the hearing, the Court

carefully considered the motion and determined that it should be denied.

Accordingly,

      IT IS HEREBY ORDERED that Defendant Johnson's motion in limine

(Doc. 32) is DENIED.
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      Dated this / S day of June, 2019.




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                                 SENIOR UNITED STATES DISTRICT JUDGE
